           Case: 20-1361 Document:
Case 1:19-cv-11405-TLL-PTM ECF No. 44   Filed: 02/01/2021
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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt            POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                      CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: February 01, 2021




Ms. Kinikia D. Essix
Eastern District of Michigan at Bay City
1000 Washington Avenue
Suite 219 Federal Building
Bay City, MI 48708-0000

                     Re: Case No. 20-1361, Scottsdale Insurance Company v. Altman Management Company
                         Originating Case No. : 1:19-cv-11405

Dear Ms. Essix,

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Zachary Love
                                                 For Monica Page
                                                 Case Manager

cc: Mr. Michael Howard Fabian
    Mr. Ryan M. Frierott
    Mr. Donald Mark Fulkerson
    Mr. Jason Jonathan Liss
    Mr. Jonathan L. Schwartz

Enclosure
           Case: 20-1361 Document:
Case 1:19-cv-11405-TLL-PTM ECF No. 44   Filed: 02/01/2021
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 20-1361
                                           ________________

                                                                      Filed: February 01, 2021

SCOTTSDALE INSURANCE COMPANY

                Plaintiff - Appellant

v.

ALTMAN MANAGEMENT COMPANY

                Defendant - Appellee



                                            MANDATE

     Pursuant to the court's disposition that was filed 01/08/2021 the mandate for this case hereby

issues today.



COSTS: None
